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 DANIEL A. FRISCHBERG, ESQ.
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 Attorneys for Plaintiffs, Elaine Levins and William Levins

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                          Case 1:17-cv-00928-RBK-KMW
   ELAINE LEVINS and WILLIAM
   LEVINS, on behalf of themselves and                   DECLARATION OF DANIEL A.
   others similarly situated,                          FRISCHBERG, ESQ. IN SUPPORT OF
                     Plaintiffs,                          MOTION TO WITHDRAW AS
                                                                 COUNSEL
   vs.

   HEALTHCARE REVENUE
   RECOVERY GROUP, LLC d/b/a ARS
   ACCOUNT RESOLUTION SERVICES,
   and JOHN AND JANE DOES 1
   THROUGH 25,
               Defendants.

 I, Daniel A. Frischberg, of full age, declare:

    1. I am co-counsel representing Elaine and William Levins in the above captioned matter. I

         have personal knowledge of the facts pertaining to this Motion.

    2. At the time of filing of the initial Complaint, I was employed by The Law Office of Andrew

         B. Finberg, LLC. The retainer agreement was signed with said firm.

    3. As of August 16, 2020, I disassociated myself with the aforementioned law firm. As of

         today, no substitution of counsel has been submitted.

    4. The Plaintiffs are adequately represented by Stern-Thomasson, LLP.

    5. Neither the Plaintiffs nor the Defendants would be prejudiced by my withdrawal from this

         case.
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    6. It is respectfully submitted that good cause exists, and therefore, it is requested that an

        Order be entered relieving the undersigned as Counsel of Record in this matter pursuant

        to Local Rule 102.1.

 In accordance with 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.

 Dated: February 5, 2021                              s/ Daniel A. Frischberg
                                                      Daniel A. Frischberg
